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COUNSEL FOR NEXPOINT ADVISORS, L.P.

                          UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 In re:                                         §
                                                §
                                                                    Chapter 11
 HIGHLAND CAPITAL MANAGEMENT,                   §
 L.P.,                                          §
                                                             Case No. 19-34054-sgj11
                                                §
           Debtor.                              §

               NEXPOINT ADVISORS, L.P.’S RESPONSE TO DEBTOR’S THIRD
                OMNIBUS OBJECTION TO CERTAIN NO LIABILITY CLAIMS

          COMES NOW NexPoint Advisors, L.P. (“NexPoint”), a creditor and party in interest in

the above captioned bankruptcy case (the “Bankruptcy Case”) of Highland Capital Management,

L.P. (the “Debtor”), and responds to the Debtor’s Third Omnibus Objection to Certain No-Liability

Claims (Dkt. No. 2059, the “Objection”), in support of which it would respectfully show as

follows:

          1.     As otherwise evidenced on the docket of the Bankruptcy Case, see Dkt. Nos. 2044

– 2047, the following claimants the subject of the Objection have assigned and transferred their

claims (collectively, the “Subject Claims”) to NexPoint: Sang Kook “Michael” Jeong, Phoebe

Stewart, and Bhawika Jain (collectively, the “Claimants”). NexPoint also reserves the right to

assert this response with respect to the claims of Sahan Abayarathna.

          2.     According to the Objection, each of the Subject Claims is evidenced by an

“Employee Letter.” Pursuant to that certain Order Approving Joint Stipulation of the Debtor and

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the Official Committee of Unsecured Creditors Modifying Bar Date Order, which approved an

attached Joint Stipulation Modifying Bar Date (Dkt. No. 628), the Employee Letters constitute

prima facie evidence of the amount and validity of the Subject Claims.

       3.      However, the Objection does not attach the Employee Letters, nor any other

supporting documentation. NexPoint has inquired on multiple occasions of the Claimants as to

whether they received Employee Letters. None of the Claimants currently recalls having received

an Employee Letter, and none has provided a copy to NexPoint. Discovery from the Debtor is

therefore necessary to obtain these documents.

       4.      In order to evaluate the Objection fully, NexPoint also requires copies of, inter alia,

all documents that govern the Annual Bonus Plan and Deferred Bonus Plan (as defined in the

Objection); all award letter agreements applicable to the Subject Claims; all contingent bonus

agreements applicable to the Subject Claims; all termination letters executed by the Claimants and

returned to the Debtor; and all documents evidencing payments made to the Claimants pursuant to

any of the foregoing documents.

       5.      However, should NexPoint need more than this minimal due process to safeguard

its rights, it will note that the Objection fails and should be overruled because the Objection

contains no evidence to rebut the prima facie evidentiary effect of the Employee Letters. NexPoint

further reserves the right to assert any and all responses to the Objection borne out by the discovery

it intends to conduct.

       WHEREFORE, PREMISES CONSIDERED, NexPoint respectfully requests that,

following a reasonable opportunity for discovery, in the event the Debtor is unable to overcome

the prima facie validity of the Employee Letters, the Court enter an order overruling the Objection

and providing NexPoint such other and further relief to which it is entitled.



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          RESPECTFULLY SUBMITTED this 20th day of April, 2021.

                                                    MUNSCH HARDT KOPF & HARR P.C.

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                                                    COUNSEL FOR NEXPOINT
                                                    ADVISORS, L.P.




                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that, on the 20th day of April, 2021, he caused true and
correct copies of this document to be served electronically on all parties entitled to CM/ECF
service in this Bankruptcy Case, including counsel for the Debtor, by electronically filing said
document through the Court’s CM/ECF system.

                                                    By: /s/ Davor Rukavina
                                                       Davor Rukavina, Esq.




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